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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 1:12-cr-00033-JLK

UNITED STATES OF AMERICA,

       Plaintiff,

           v.

1. JAMSHID MUHTOROV, and
2. BAKHTIYOR JUMAEV,

       Defendants.

______________________________________________________________________________

                  ORDER RESETTING DEFENDANTS’ TRIALS
______________________________________________________________________________
Kane, J.

       On November 30, 2107, I informed the parties that, for reasons of physical health, I

would be unable to preside over the trial of Defendant Bakhtiyor Jumaev scheduled to

commence on January 8, 2018. Based on my understanding of the situation at that time, I said I

would be able to try Defendant Jumaev on March 12, 2018, with Defendant Jamshid Muhtorov’s

trial immediately following. I directed the parties to file status reports on or before December 11,

2017, advising me on how they wished to proceed.

       The parties filed their respective status reports on December 8, 2017. Defendants Jumaev

and Muhtorov advise that they are not seeking reassignment of the case to another judge and are

prepared to go to trial on the new dates. The government, in turn, is concerned about not having

a certain trial date and the possibility that I will be unavailable to rule on motions that arise

between now and March. I wish to address those concerns.




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       Based on additional consultation with my doctors, the medical treatments that I was to

undergo that potentially could have resulted in a significant recovery period have been

indefinitely postponed. I have begun alternate drug therapy that will, however, require a period

of adjustment during which my court schedule will be reduced over the next three months. That

said, I am fully capable of handling whatever motions may arise between now and March 12,

2018, and will be fit to preside over the rescheduled trials.

       Accordingly, Defendant Bakhtiyor Jumaev’s trial set to begin January 8, 2018, is

VACATED. Defendant Jamshid Muhtorov’s trial set to begin March 12, 2018, is also

VACATED. Defendant Jumaev’s trial is reset to begin March 12, 2018, and to run for seven

weeks. Defendant Muhtorov’s trial is reset to begin May 14, 2018, and to run for seven weeks.

       In light of these rulings, the In Court Hearing set for December 21, 2017, at 10:30 a.m. to

is similarly VACATED. The government and Defendant Jumaev are DIRECTED to file a

proposed scheduling order for any matters they foresee arising between now and the new trial

date, including addressing the need for and timing of regular status conferences, on or before

December 22, 2017. They are further DIRECTED to file their proposed jury instructions, as well

as specific proposals for revising the jury selection protocol (see ECF No. 1568), on or before

January 12, 2018. The hearing on jury instructions and jury selection will be rescheduled for

shortly thereafter. Defendant Jumaev’s Final Trial Preparation Conference set for January 3,

2018, is VACATED and reset for March 7, 2018, at 10:30 a.m.


       DATED this 12th day of December 2017.



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                                                                JOHN L. KANE
                                                                SENIOR U.S. DISTRICT JUDGE

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